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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

          ------------------------------X           Docket#
          LELCHOOK, et al.,             :           16-cv-07078-ILG-RLM
                          Plaintiffs,   :
                                        :
               - versus -               :           U.S. Courthouse
                                        :           Brooklyn, New York
                                        :
          ISLAMIC REPUBLIC OF IRAN,     :
                          et al.,       :
                          Defendants    :           August 10, 2018
          ------------------------------X

              TRANSCRIPT OF CIVIL CAUSE FOR TELEPHONE CONFERENCE
                     BEFORE THE HONORABLE ROANNE L. MANN
                        UNITED STATES MAGISTRATE JUDGE
          A    P    P    E     A    R    A     N    C    E    S:



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    1                THE COURT:     Counsel, this is Judge Mann on the

    2   line.

    3                MR. TOLCHIN:      Yes, hi.

    4                MR. FREY:     Hi, Judge.

    5                THE COURT:     I'm conducting a telephonic hearing

    6   in Lelchook v. the Islamic Republic of Iran, et al., 16-

    7   cv-7078.

    8                Do I have plaintiff's counsel on the line?

    9                MR. TOLCHIN:      Yes, you do, your Honor.         Robert

   10   Tolchin.     Are we on the record?

   11                THE COURT:     We are.

   12                MR. TOLCHIN:      Okay, thank you.

   13                THE COURT:     Mr. Tolchin, anyone else for

   14   plaintiffs?

   15                MR. TOLCHIN:      No, just me.

   16                THE COURT:     And for the defendant, Bank Saderat

   17   PLC.

   18                MR. FREY:     Correct, Jeremy Frey.

   19                THE COURT:     All right.     Thank you both for

   20   making yourselves available on short notice to the Court.

   21                Mr. Tolchin, I assume that you have seen the

   22   defense counsel's motion to withdraw which was filed

   23   after the Court had set up this hearing.

   24                MR. TOLCHIN:      Yes, I quickly read it.

   25                THE COURT:     And you previously had asked for, I




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    1   believe it was four days in which to respond.

    2                MR. TOLCHIN:      I believe I said four business

    3   days but, yes.

    4                THE COURT:     All right.     Before I rule on that,

    5   I would like a little more information about the status

    6   of not only this proceeding but other related

    7   proceedings.

    8                Mr. Tolchin, has any -- I take it the mandate

    9   hasn't issued from the D.C. circuit, so that the cases

   10   have not been returned to the district court in D.C.?

   11                MR. TOLCHIN:      Your Honor, I think that is

   12   correct, but I don't -- I wouldn't want to make a

   13   representation as to whether the mandate has or has not

   14   issued as of this moment without checking the docket.

   15                THE COURT:     And since you originally had a case

   16   that was filed in D.C. that was dismissed on the basis of

   17   the now reversed decision in Kaplan (ph.), what is -- do

   18   you have any intention with respect to whether or not you

   19   will be seeking to resurrect that case?

   20                MR. TOLCHIN:      To resurrect the actual case

   21   where we won the appeal or are you talking about a

   22   different case?

   23                THE COURT:     No, I am talking about the -- I

   24   should have been more explicit, the Lelchook case.

   25                MR. TOLCHIN:      No, we definitely will seek to




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    1   resurrect that in some form.          We've been debating

    2   internally what's the best vehicle for that but we're

    3   certainly not walking away from it.

    4                THE COURT:     Well, you say in some form, I am

    5   trying to get a sense of whether or not this case is

    6   going to remain in this court, whether it's going to be

    7   pursued in D.C. or some other district because the

    8   Lelchooks have a similar case pending in the Southern

    9   District of New York, is that correct?

   10                MR. TOLCHIN:      Your Honor, let me just jump back

   11   to what you asked me a moment, while you were talking I

   12   pulled up the docket and there was an order there saying

   13   that the Court withhold issuing the mandate until seven

   14   days after disposition of any timely petition from the

   15   hearing.     That was a July 20th order.          So I guess they're

   16   waiting out the times for somebody to petition for a

   17   hearing, which I guess is imminent.

   18                All right, but the Lelchooks, if I recall

   19   correctly, they have a case perhaps against different

   20   defendants pending in the Southern District of New York.

   21                MR. TOLCHIN:      They don't have anything pending.

   22                THE COURT:     All right.     Then I misunderstood.

   23                MR. TOLCHIN:      They don't have any case pending

   24   right now.     There was a case that was dismissed which

   25   could be resurrected but not something pending.




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    1                THE COURT:     Well, then let's focus on the

    2   Eastern District of New York case and the D.C. case which

    3   really are the same case.         At oral argument a year ago, I

    4   had asked if Kaplan were reversed on appeal, would you be

    5   pursuing the case in D.C. and you said that if Kaplan

    6   were reversed on appeal, you would imagine you would then

    7   go back to Judge Lambert and say your order in Lelchook

    8   relied on Kaplan.       Kaplan has now been reversed, so let's

    9   revisit the cases.

   10                Has a decision been made as to whether or not

   11   this case is going to proceed in the Eastern District of

   12   New York?

   13                MR. TOLCHIN:      If this case against Bank Saderat

   14   is certainly going to proceed.

   15                THE COURT:     Was Bank Saderat a defendant in

   16   D.C.?

   17                MR. TOLCHIN:      Yes, but they didn't answer.

   18   That was the whole issue.         They were kind of a defendant.

   19                THE COURT:     All right     Mr. Frey, during our

   20   oral argument, after your client had prevailed in the

   21   district court in D.C., you were relying very heavily on

   22   the district court's decision in that case and indeed,

   23   you've said there's already been a ruling in this case

   24   with respect to these plaintiffs that act of war governs

   25   this cause of action.




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    1                This case has already been dismissed, not once

    2   actually but twice in the D.C. circuit.             So you were

    3   treating this as the same case as in D.C.              Now the

    4   district court's decision has been reversed, is the

    5   position the same?

    6                MR. FREY:     I have no reason to think it is any

    7   different.

    8                MR. TOLCHIN:      Judge, Robert Tolchin, if I may

    9   jump in for one second.         There's a big difference.         It's

   10   not the same case.       Lelchook is not a party in D.C.           I

   11   mean it may have similar facts or similar occurrences but

   12   Lelchook is not in that case.

   13                THE COURT:     I thought Lelchook was a plaintiff

   14   in a companion case that Judge Lambert sua sponte

   15   dismissed based on --

   16                MR. TOLCHIN:      No.

   17                THE COURT:     -- Kaplan.

   18                MR. TOLCHIN:      No, that was --

   19                MR. FREY:     Yes, that's correct, your Honor.

   20                MR. TOLCHIN:      If that is correct, then it's

   21   more than I remember.

   22                MR. FREY:     Yes, it's correct.

   23                THE COURT:     Well, I must say that based on what

   24   has transpired in D.C., if this case were to proceed in

   25   this district, I would be inclined to grant the motion




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    1   for discovery regarding personal jurisdiction.

    2                But now the intervening event is defendant's

    3   motion to withdraw.        The motion indicates that the client

    4   has discharged Mr. Frey and his firm and has advised that

    5   it does not intend to participate in the proceedings in

    6   the above case.

    7                So do I understand correctly that Mr. Frey,

    8   that the bank will be defaulting?

    9                MR. FREY:     I think to the extent you're raising

   10   any potential remedy that might be available in the event

   11   it does not further -- it takes no further action which

   12   is my understanding that it will be taking no further

   13   action, there could be a variety of results.               So it's

   14   certainly a default is among those that I think the law

   15   provides.

   16                MR. TOLCHIN:      Judge, if I may, while we were

   17   talking, I checked and I want to confirm to you that

   18   there was a case, Ester Lelchook v. Central Bank of Iran,

   19   et al., which was dismissed without prejudice in

   20   Washington -- in D.C.

   21                THE COURT:     I didn't remember that it was

   22   without prejudice but in any event --

   23                MR. TOLCHIN:      It was without -- it was

   24   dismissed because of a lengthy delay without the

   25   defendants being served.




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    1                MR. FREY:     It was dismissed based on Kaplan.

    2                THE COURT:     Well, we don't need to resolve that

    3   now and in any event, that is a decision that will have

    4   to be made, presumably in another forum if that case is

    5   going to proceed.

    6                But I want to get back to my inquiry of Mr.

    7   Frey, the fact that the bank has discharged counsel.                 I

    8   take it you have no reason to believe that they're not

    9   seeking to dismiss you and file a substitution of counsel

   10   or be afforded a brief period of time to retain new

   11   counsel.     Your understanding is they've discharged your

   12   firm because they do not intend to proceed any further,

   13   correct?

   14                MR. FREY:     Precisely, your Honor.         Correct.

   15                THE COURT:     And I want to make sure that they

   16   understand that if I were to grant the motion, that they

   17   would not in any event, be permitted to proceed without

   18   counsel in federal court.         That, in and of itself, would

   19   be a basis for entering a default judgment and I further

   20   want to make sure that they understand that under Second

   21   Circuit case law, if they default, even though they may

   22   have raised an issue of lack of personal jurisdiction,

   23   that in this circuit, that could be deemed a forfeiture

   24   of any defense based on personal jurisdiction.

   25                So I want to make sure that they understand




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    1   that and my preference would be to communicate with the

    2   client, so that the client understands the ramifications

    3   of discharging counsel and/or defaulting.

    4                MR. FREY:     Uh-hum.

    5                THE COURT:     So I take it you do not -- your

    6   client does not -- in the United States, is it possible

    7   to arrange a telephonic hearing in which your client will

    8   participate?

    9                MR. FREY:     So, your Honor, if you want to give

   10   me some time, considering that it's in August, I will be

   11   happy to inquire and revert on that issue.

   12                THE COURT:     All right.     How much time do you

   13   need for that?

   14                MR. FREY:     Well, let's plan that we should get

   15   back to you no later than next Friday.

   16                THE COURT:     All right.     And Mr. Tolchin, you

   17   had asked for, as you said now, four business days to

   18   respond.     So that would be next Thursday.

   19                MR. TOLCHIN:      That would be correct, yes.

   20                THE COURT:     All right.     So I will give you the

   21   time that you need.        You had -- without precluding you

   22   from raising other issues, you had indicated in

   23   requesting the four days that if the motion to withdraw

   24   were granted, you would want that to be with certain

   25   conditions attached.        Do you want to share what you had




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     1   in mind?

     2               MR. TOLCHIN:      Well, one of them we're concerned

     3   about not being able to -- not having a place to serve

     4   any orders or judgments that might flow from this case.

     5   You know, if they are discharged as their attorney, we

     6   feel that it ought to be conditional on designating

     7   somebody or somewhere as to the address where any orders

     8   or anything that needs to be served can be sent and

     9   indeed received.

    10                Serving things on Irani entities in Iran, is

    11   extraordinarily frustrating.          They have to become adept

    12   at refusing delivery of DHL and FedEx packages

    13   (indiscernible) legal.        I believe they usually come back

    14   to me having been opened and retaped.            So they open it

    15   and look inside and say oh, we refuse and send it back

    16   (indiscernible).

    17                It could be that Mr. Frey might be the -- you

    18   know, might have a residual role in the case of being the

    19   person who receives documents and forwards them onto his

    20   former clients.      It just doesn't -- you know, we are

    21                But what sit with irony with us is that all

    22   these years, the defendants have been trying to get this

    23   case dismissed through various motions and argument and

    24   if they had been dismissed, that would have been it.                Our

    25   clients would have been (indiscernible), it would have




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     1   been binding.

     2               Now they are saying okay, we've played so far

     3   but now we're going to take our marbles and go home and

     4   we don't want to be in the position where this far down

     5   the road, we can't finality ourselves because it's hard

     6   or it's difficult to serve papers on them.              That's one

     7   main -- major condition that we had internally been

     8   discussing.

     9               THE COURT:      Anything else --

    10                MR. TOLCHIN:     Quite often -- the other thing is

    11   that often when attorneys are discharges, the cases is

    12   stayed and they're given an opportunity to find another

    13   lawyer but that really wouldn't be appropriate in this

    14   situation at all because let's just say that they don't

    15   want to continue, not that they're looking for another

    16   lawyer.

    17                THE COURT:     Well, and that was something that I

    18   already addressed with Mr. Frey and it does not appear

    19   that the client will be seeking to bring in new counsel.

    20   The client is -- to the extent it doesn't have a change

    21   of heart is at you put it, taking its marbles and going

    22   home.

    23                And while I said that I believe in light of the

    24   case law both in the D.C. circuit, as well as Judge

    25   Pollak's report and recommendation in the Freeman case




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     1   pending in this district, that I would at this point be

     2   prepared to grant the motion for jurisdictional discovery

     3   but it seems to me, it may be unnecessary if we're going

     4   to be faced with a default situation and a forfeiture of

     5   any defense based on lack of personal jurisdiction.

     6               So Mr. Frey, is there anything you want to say

     7   in response to Mr. Tolchin's concern about not having

     8   someone on whom to serve orders and judgment?

     9               MR. FREY:     Judge, honestly I feel constrained

    10   because I am without authority.           So I think the answer

    11   must be no.

    12                THE COURT:     I'm sorry, the answer is no you

    13   don't -- you're not aware of any such --

    14                MR. FREY:    No, the answer is no, I am

    15   constrained in making a response.

    16                THE COURT:     Well, it is something that I think

    17   ought to be addressed.        There may be other issues that

    18   Mr. Tolchin will raise in his submission to the Court on

    19   Thursday.     And I would urge you to -- Mr. Tolchin, to get

    20   that in as soon as possible, so that Mr. Frey can discuss

    21   its contents with the client but normally, if an attorney

    22   makes a motion to withdraw and assume a situation where

    23   we're dealing with an individual defendant, as opposed to

    24   an entity, the Court would insist that if -- that there

    25   be -- that the withdrawing attorney provide the Court




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     1   with information, so that the client can be contacted

     2   directly.

     3               This is not a ruling that I am making now but I

     4   certainly do share Mr. Tolchin's concern.             So it's

     5   something you should discuss with your client.

     6               All right.      Is there anything else?

     7               MR. TOLCHIN:      No, thank you, your Honor.

     8               THE COURT:      Mr. Frey?

     9               MR. FREY:     From the defendant, your Honor.

    10                THE COURT:     Okay, thank you.

    11                MR. TOLCHIN:     Thank you for making time for us.

    12                THE COURT:     Yes, goodbye.

    13                      (Matter concluded)

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                      I, LINDA FERRARA, hereby certify that the

         foregoing transcript of the said proceedings is a true

         and accurate transcript from the electronic sound-

         recording of the proceedings reduced to typewriting in

         the above-entitled matter.



                      I FURTHER CERTIFY that I am not a relative or

         employee or attorney or counsel of any of the parties,

         nor a relative or employee of such attorney or counsel,

         or financially interested directly or indirectly in this

         action.



                      IN WITNESS WHEREOF, I hereunto set my hand this

         13th day of August, 2018.




                                         AAERT CET**D 656
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